Case 2:05-cv-00192-GZS Document 69 Filed 08/23/06 Page 1 of 2                   PageID #: 279




                           UNITED STATES DISTRICT COURT
                                   District of Maine


IVAN M. SUZMAN,                              )
      Plaintiff                              )
                                             )
v.                                           )
                                             )      Civil No. 05-192-P-S
ADOLPH CRISP, et al.,                        )
                                             )
            Defendants                       )
                                             )
                                             )


                         ORDER AFFIRMING THE
              RECOMMENDED DECISION OF THE MAGISTRATE JUDGE


       The United States Magistrate Judge filed with the Court on July 12, 2006, her Recommended

Decision (Docket No. 50). Defendant Booton-Brown filed her Objection to the Recommended

Decision (Docket No. 57) on July 28, 2006. Defendants Crisp and Booton-Brown filed their

Response to Objection and Recommended Decision (Docket No. 68) on August 23, 2006.

       I have reviewed and considered the Magistrate Judge's Recommended Decision, together

with the entire record; I have made a de novo determination of all matters adjudicated by the

Magistrate Judge's Recommended Decision; and I concur with the recommendations of the United

States Magistrate Judge for the reasons set forth in his Recommended Decision, and determine that

no further proceeding is necessary.

       1.      It is therefore ORDERED that the Recommended Decision of the Magistrate
Judge is hereby AFFIRMED.
Case 2:05-cv-00192-GZS Document 69 Filed 08/23/06 Page 2 of 2                    PageID #: 280




       2.      Casa Agape Ministries, Inc.’s adoptive Motion to Strike, Motion for a More
Definite Statement (Docket No. 27) and Motion Quash (Docket No. 68) are all DENIED. All
Defendants are granted until September 1, 2006 to file their answers. Casa Agape Ministries,
Inc. must file its answer and all further pleadings through licensed counsel and in accordance
with the District of Maine Local Rules.

       So Ordered.

                                                    /s/ George Z. Singal_________
                                                    Chief U.S. District Judge

Dated: August 23, 2006
